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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

              Plaintiff/Respondent,

vs.                                                        No. CV 16-00736 RB/SMV
                                                           No. CR 09-02968 RB


DANIEL RAMON MUÑOZ,

              Defendant/Movant.


                                        JUDGMENT

       THIS MATTER having come before the Court under Rule 4 of the Rules Governing

Section 2255 Proceedings on the Motion to Correct Sentence Under 28 U.S.C. § 2255 filed by

Defendant/Movant, Daniel Ramon Muñoz. (CV Doc. 1; CR Doc. 531) and the Court having

entered its Order dismissing the § 2255 Motion with prejudice,

       IT IS ORDERED that Judgment is entered and the Motion to Correct Sentence Under 28

U.S.C. § 2255 filed by Defendant/Movant, Daniel Ramon Muñoz. (CV Doc. 1; CR Doc. 531) is

DISMISSED with prejudice under Rule 4 of the Rules Governing Section 2255 Proceedings.




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                                            UNITED STATES DISTRICT JUDGE
